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12   Emelia Adorno Mendoza; Giovani Pastrana; Ivan Pastrana; Emelia Adorno
     Mendoza
13

14                         UNITED STATES DISTRICT COURT

15        CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

16
     JOHN BP DOE BY AND                    )   CASE NO.: 8:20-cv-00462-DOC-KES
17
     THROUGH HIS GUARDIAN AD               )   HONORABLE DAVID O. CARTER
18   LITEM, EMELIA ADORNO                  )   COURTROOM 9D
     MENDOZA; GIOVANI                      )
19                                             [CORRECTED] THIRD AMENDED
     PASTRANA; IVAN PASTRANA;              )
20   EMELIA ADORNO MENDOZA,                )   COMPLAINT FOR DAMAGES:
                                           )
21                                                 1) ASSAULT AND BATTERY;
                           Plaintiffs,     )
22                                         )       2) NEGLIGENCE;
                                           )       3) VIOLATION OF CIVIL
23                                                    RIGHTS 42 U.S.C. SECTION
                     vs.                   )
24                                         )          1983;
                                           )       4) VIOLATION OF CIVIL
25                                                    RIGHTS 42 U.S.C. SECTION
     COUNTY OF ORANGE; BRIAN               )
26   MURRAY; JOSE TORRES; and              )          1983, MONELL
     DOES 1 TO 25, INCLUSIVE,              )       5) VIOLATION OF CIVIL
27                                                    RIGHTS (CAL. CIV. CODE
                                           )
28                                         )          §52.1)


                                               1
                           THIRD AMENDED COMPLAINT FOR DAMAGES
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 1                         Defendants.     )       6) NEGLIGENT INFLICTION OF
 2
                                           )          EMOTIONAL DISTRESS
                                           )       7) INTENTIONAL INFLICTION
 3                                         )          OF EMOTIONAL DISTRESS
 4                                         )
                                           )         DEMAND FOR JURY TRIAL
 5                                         )
 6                                         )
                                           )
 7

 8
                                  COMPLAINT FOR DAMGES
 9

10          COME NOW Plaintiffs JOHN BP DOE BY AND THROUGH HIS

11   GUARDIAN AD LITEM, EMELIA ADORNO MENDOZA; GIOVANI
12
     PASTRANA; IVAN PASTRANA; EMELIA ADORNO MENDOZA (hereinafter
13

14   collectively “Plaintiffs”), for their Complaint against Defendants COUNTY OF

15   ORANGE; BRIAN MURRAY; JOSE TORRES; and Does 1 to 25 inclusive and
16
     allege as follows:
17

18                            VENUE AND JURISDICTION

19      1. Venue is proper in this District because the underlying acts, omissions,
20
     injuries, and related facts and circumstances giving rise to the present action
21

22   occurred in this District.

23      2. The Court has jurisdiction over Plaintiffs federal claims under 42
24
     U.S.C. §1983 pursuant to 28 U.S.C. §§1331, 1334 and 1441. Plaintiffs further
25

26   invoke pendant jurisdiction of this Court to consider the claims arising under the
27   law.
28


                                               2
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1                                       PARTIES
 2
        3. Plaintiff, JOHN BP DOE, is and at all times herein mentioned, was a
 3

 4   male minor and a resident of the County of Orange, State of California. Plaintiff

 5   JOHN BP DOE’s mother, Emelia Adorno Mendoza, has requested to be appointed
 6
     as Plaintiff’s Guardian Ad Litem. The name used by JOHN BP DOE in this
 7

 8   Complaint is not the actual name of JOHN BP DOE, but is a fictitious name utilized

 9   to protect the privacy of JOHN BP DOE, who is a minor.
10
        4. Plaintiff GIOVANI PASTRANA is and at all times herein mentioned,
11

12   was a male resident of the County of Orange, State of California.

13      5. Plaintiff IVAN PASTRANA is and at all times herein mentioned, was a
14
     male resident of the County of Orange, State of California.
15

16      6. Plaintiff EMELIA ADORNO MENDOZA is and at all times herein
17   mentioned, was a female resident of the County of Orange, State of California.
18
     Plaintiff EMELIA ADORNO MENDOZA is the mother of Plaintiffs JOHN BP
19

20   DOE, GIOVANI PASTRANA, and IVAN PASTRANA. Plaintiffs JOHN BP
21   DOE, GIOVANI PASTRANA, and IVAN PASTRANA are brothers.
22
        7. Plaintiffs are informed and believe and, on that basis, allege that
23

24   Defendant COUNTY OF ORANGE (hereinafter “COUNTY”) is, and was at all
25   times mentioned herein, a public entity, municipal corporation and political
26
     subdivision, organized and existing as such under the laws of the state of California
27

28   and owns, operates, manages, directs and controls the ORANGE COUNTY


                                               3
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   SHERIFF’S DEPARTMENT (hereinafter “OCSD”), an operating department of
 2
     the COUNTY, who provides law enforcement services for Defendant COUNTY.
 3

 4   COUNTY is responsible for the actions, omissions, policies, procedures, practices,

 5   and customs of its various agents and agencies, including OCSD and its agents and
 6
     employees. At all relevant times, Defendant COUNTY was responsible for
 7

 8   assuring that the actions, omissions, policies, procedures, practices, and customs

 9   of OCSD and its employees and agents complied with the laws of the United States
10
     and of the State of California. At all relevant times, COUNTY was the employer
11

12   of Does 1-25.

13      8. Plaintiffs are informed and believe and, on that basis, allege that Defendant
14
     Brian Murray, is and at all times herein mentioned was, a Deputy of the Orange
15

16   County Sheriff’s Department.
17      9. Plaintiffs are informed and believe and, on that basis, allege that Defendant
18
     Jose Torres, is and at all times herein mentioned was, a deputy of the Orange
19

20   County Sheriff’s Department.
21      10. Defendants DOES 1-15 (“DOE OFFICERS”) are deputies and or officers
22
     working for the OCSD. DOE OFFICERS were acting under color of law within
23

24   the course and scope of their duties as officers/deputies for the OCSD. DOE
25   OFFICERS were acting with the complete authority and ratification of their
26
     principal, Defendant COUNTY. The use of the term “Defendants” in any of the
27

28   allegations of this Complaint, unless specifically set forth as otherwise, is intended


                                               4
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   to include and charge both jointly and severally, not only COUNTY but all
 2
     Defendants designated as Does 1-25 as well.
 3

 4      11.Defendants DOES 16-20 are supervisory officers/deputies of the OCSD who

 5   were acting under color of law within the course and scope of their duties as
 6
     officers/deputies for the OCSD. DOES 16-20 were acting with the complete
 7

 8   authority and ratification of their principal, Defendant COUNTY.

 9      12. Defendants DOES 21-25 are managerial, supervisorial, and policymaking
10
     employees of the OCSD who were acting under color of law within the course and
11

12   scope of their duties as managerial, supervisorial, and policymaking employees of

13   the OCSD. DOES 21-25 were acting with the complete authority and ratification
14
     of their principal, Defendant COUNTY.
15

16      13. DOES 1-25 are sued in their individual capacity and Plaintiffs are informed
17   and believe that DOES 1-25 were, at all times relevant, residents of the County of
18
     Orange.
19

20      14. In doing the acts and failing and omitting to act as herein described,
21   Defendants DOE OFFICERS were acting on the implied and actual permission and
22
     consent of Defendants Does 16-25.
23

24      15. In doing the acts and failing and omitting to act as herein described,
25   Defendants DOES 1-25 were acting on the implied and actual permission and
26
     consent of COUNTY.
27

28      16. Plaintiffs are unaware of the true names or capacities of the defendants


                                              5
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 1   sued herein as DOES 1 to 25, inclusive, and therefore sue said defendants by these
 2
     fictitious names. Plaintiffs are informed and believe, and upon that basis allege that
 3

 4   said defendants are in some manner legally responsible for the injuries and

 5   damages to Plaintiffs as alleged herein. Plaintiffs will seek leave to amend this
 6
     Complaint to allege the true names and capacities of said fictitiously named
 7

 8   defendants and the nature of their legal responsibility when the same have been

 9   ascertained.
10
        17. At all times mentioned herein, each and every Defendant was the agent of
11

12   each other defendant and had the legal duty to oversee and supervise the hiring,

13   conduct, and employment of each and every Defendant.
14
        18. All of the acts complained of herein by Plaintiffs against Defendants were
15

16   done and performed by said Defendants by and through their authorized agents,
17   servants, and/or employees, all of whom at all relevant times herein were acting
18
     within the course, purpose, and scope of said agency, service, and/or employment
19

20   capacity. Moreover, Defendants and their agents ratified all of the acts complained
21   of herein.
22
        19. Plaintiffs are informed and believe and thereon allege that each Defendant
23

24   acted under color of law to deprive Plaintiffs of their civil rights as guaranteed by
25   the Unruh Civil Rights Act as annunciated in Cal. Civ. Code §51 et. seq.
26
        20. Plaintiffs are further informed and believe and thereon allege that
27

28


                                               6
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   Defendant COUNTY and DOES 1-25 committed, aided, supported, continued and
 2
     allowed each and every deprivation alleged hereinafter, to the pain and suffering
 3

 4   of Plaintiffs.

 5         21. As a proximate cause of the actions or inactions of the known and
 6
     unknown defendants, and each of them, Plaintiffs suffered serious injury to their
 7

 8   body in violation of their civil rights under Cal. Civ. Code §51 et. seq.

 9                                   TORT CLAIM ACT
10
           22. JOHN BP DOE AND IVAN PASTRANA timely filed a Claim for
11

12   Damages with the County of Orange on or around May 14, 2019 pursuant to

13   California Government Code Section 911.2. On or around June 17, 2019, Plaintiffs
14
     were notified by the County of Orange, County Executive Office that their claim
15

16   had been rejected. Therefore, JOHN BP DOE and IVAN PASTRANA now have
17   the legal right to file this Complaint.
18
           23. GIOVANI PASTRANA AND EMELIA ADORNO MENDOZA timely
19

20   filed a Claim for Damages with the County of Orange on or around February 28,
21   2019 pursuant to California Government Code Section 911.2. On or around August
22
     19, 2019, Plaintiffs were notified by the County of Orange, County Executive
23

24   Office that their claim had been rejected. Therefore, GIOVANI PASTRANA and
25   EMELIA ADORNO MENDOZA now have the legal right to file this Complaint.
26
     ///
27

28   ///


                                               7
                            THIRD AMENDED COMPLAINT FOR DAMAGES
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 1                            GENERAL ALLEGATIONS
 2
        24. On or around November 15, 2018, Plaintiff GIOVANI PASTRANA
 3

 4   (“GIOVANI “) was in front of his residence located at 31567 Calle La Purisima,

 5   San Juan Capistrano, CA 92675 and was waiting to retrieve his bicycle from his
 6
     cousin so that GIOVANI could go to work. While in front of his residence,
 7

 8   GIOVANI was approached by DOE OFFICERS, specifically an undercover

 9   Orange County Deputy Sheriff who questioned GIOVANI about a can of beer on
10
     the ground. GIOVANI calmly explained to the DOE OFFICERS that the can of
11

12   beer is not his and that he does not drink. At this point, the DOE OFFICERS

13   instructed GIOVANI to leave the area. As such, GIOVANI walked towards his
14
     residence at which time, the DOE OFFICERS, without provocation, pulled
15

16   GIOVANI into the street, struck GIOVANI’s head, and slammed GIOVANI to the
17   ground where GIOVANI was restrained without handcuffs, causing severe
18
     personal injuries to GIOVANI. GIOVANI was unarmed, not acting in a hostile
19

20   manner, and was not threatening the DOE OFFICERS in any manner. GIOVANI
21   had broken no laws, was not a threat to himself or others, and was not doing
22
     anything wrong, nor illegal. No felony, misdemeanor, infraction, or crime of any
23

24   kind was occurring, nor had been committed by GIOVANI. In dealing with
25   GIOVANI, the DOE OFFICERS 1) showed a clear failure in their training and
26
     supervision in responding to this type of situation; 2) were acting based on their
27

28   training by COUNTY and OCSD; 3) were acting in accordance to existing


                                             8
                         THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   unconstitutional policies of COUNTY and OCSD; and 4) as a result caused injuries
 2
     to Plaintiffs.
 3

 4      25. As GIOVANI was being pulled out into the street for no apparent reason by

 5   DOE OFFICERS, Plaintiff EMELIA ADORNO MENDOZA (“EMELIA”), who
 6
     was home at the time, walked outside of her residence located at 31567 Calle La
 7

 8   Purisima in San Juan Capistrano, California and noticed a white man, who was an

 9   Orange County deputy sheriff, pulling her son, GIOVANI, away onto the street in
10
     an aggressive manner. Upon seeing this, EMELIA, who was unarmed, walked
11

12   toward the DOE OFFICERS and GIOVANI. At this point, DOE OFFICERS,

13   specifically a shorter Orange County deputy sheriff, inexplicably and without
14
     provocation violently pushed EMELIA’s body right under her breasts with two
15

16   hands, causing EMELIA to fall backwards onto the street. Upon hitting the ground,
17   EMELIA felt immediate and excruciating pain to her right upper leg and hip.
18
     EMELIA started crying and asked for help. EMELIA was on the ground for a
19

20   period of 30 to 45 minutes, but no Orange County Deputy Sheriffs came to her aid.
21   Finally, an ambulance arrived, and EMELIA was taken to Mission Hills Hospital
22
     to receive treatment for her serious personal injuries. EMELIA was unarmed, not
23

24   acting in a hostile manner, and was not threatening the DOE OFFICERS in any
25   manner. EMELIA had broken no laws, was not a threat to herself or others, and
26
     was not doing anything wrong, nor illegal. No felony, misdemeanor, infraction, or
27

28   crime of any kind was occurring, nor had been committed by EMELIA. In dealing


                                             9
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 1   with EMELIA, the DOE OFFICERS 1) showed a clear failure in their training and
 2
     supervision in responding to this type of situation; 2) were acting based on their
 3

 4   training by COUNTY and OCSD; 3) were acting in accordance to existing

 5   unconstitutional policies of COUNTY and OCSD; and 4) as a result caused injuries
 6
     to Plaintiffs.
 7

 8      26.During the incident between GIOVANI and the DOE OFFICERS, JOHN

 9   BP DOE and IVAN PASTRANA (“IVAN”) were also physically assaulted and
10
     tackled to the ground by DOE OFFICERS, causing serious personal injuries.
11

12   JOHN BP DOE and IVAN were unarmed, not acting in a hostile manner, and were

13   not threatening the deputy sheriff in any manner. JOHN BP DOE and IVAN had
14
     broken no laws, were not a threat to themselves or others, and were not doing
15

16   anything wrong, nor illegal. No felony, misdemeanor, infraction, or crime of any
17   kind was occurring, nor had been committed by JOHN BP DOE and IVAN. In
18
     dealing with JOHN BP DOE and IVAN, DOE OFFICERS 1) showed a clear
19

20   failure in their training and supervision in responding to this type of situation; 2)
21   were acting based on their training by COUNTY and OCSD; 3) were acting in
22
     accordance to existing unconstitutional policies of COUNTY and OCSD; and 4)
23

24   as a result caused injuries to Plaintiffs.
25      27. Based on the facts readily available and known to COUNTY and DOE
26
27

28


                                                  10
                           THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   OFFICERS, no reasonable conclusion could be drawn that force used was
 2
     reasonable, as Plaintiffs posed no immediate threat of death or serious bodily injury
 3

 4   at the time.

 5      28. In light of the circumstances, no objective facts readily available and known
 6
     to COUNTY and DOE OFFICERS could have reasonably led the DOE OFFICERS
 7

 8   to conclude that Plaintiffs were a threat requiring the use of force.

 9      29. Defendants COUNTY and DOE OFFICERS under color of law
10
     intentionally, recklessly, negligently, unlawfully, with malice, fraud, and
11

12   oppression, violated Plaintiffs’ Civil Rights and their rights to be secure in their

13   persons against unreasonable searches and seizures as guaranteed to them under
14
     the Fourth Amendment to the United States Constitution and applied to state actors
15

16   by the Fourteenth Amendment.
17      30. Plaintiffs further allege that Defendants, with deliberate indifference to
18
     and reckless disregard for the safety and well-being of Plainiffs, and in violation
19

20   of the Fourth, Eighth, and Fourteenth Amendments to the Constitution, committed
21   or allowed to be committed, acts which deprived Plaintiffs of their Constitutional
22
     rights.
23

24      31. COUNTY and DOE OFFICERS acted with a conscious disregard of
25   PLAINTIFFS’ rights conferred upon them by Section 1983 Title 42 of the United
26
     States Code, the Fourth Amendment to the United States Constitution, and
27

28


                                               11
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   California Civil Code Section 3333, by intentionally and unnecessarily causing
 2
     Plaintiffs great bodily injury and harm.
 3

 4      32. Said conduct of Defendants constitutes malice, oppression and/or fraud

 5   entitling Plaintiffs to recover punitive damages against COUNTY and DOE
 6
     OFFICERS in an amount suitable to punish and set an example of said Defendants.
 7

 8                               FIRST CAUSE OF ACTION
                                 ASSAULT AND BATTERY
 9                          (All Plaintiffs Against All Defendants)
10
        33. Plaintiffs reallege, repeat, and incorporate by reference each and every
11

12   allegation set forth in paragraphs 1 through 32 of this Complaint, as though fully

13   set forth herein.
14
        34. On or around November 15, 2018, Defendant COUNTY through its
15

16   employees, OCSD and DOES 1-25, pushed and tackled Plaintiffs to the ground,
17   injuring Plaintiffs.
18
        35. On or around November 15, 2018, Defendant COUNTY by and through
19

20   its employees OCSD and DOES 1-25, intentionally, willfully, wantonly and
21   maliciously threatened to strike and otherwise cause a harmful and/or offensive
22
     contact with Plaintiffs’ person so as to cause a reasonable apprehension by
23

24   Plaintiffs of an immediate harmful or offensive contact with their person, without
25   Plaintiffs’ consent, causing Plaintiff physical, mental, and/or emotional injuries as
26
     alleged herein..
27

28      36. On or around November 15, 2018, Defendant COUNTY by and through


                                                12
                            THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   its employees OCSD and DOES 1-25, intentionally, willfully, wantonly and
 2
     maliciously caused a harmful and/or offensive contact with Plaintiffs’ person
 3

 4   without Plaintiffs’ consent, and as a result thereof an offensive contact with

 5   Plaintiffs’ person directly resulted, causing Plaintiffs physical, mental, and/or
 6
     emotional injuries as alleged herein.
 7

 8      37. On information and belief, a reasonable law-enforcement officer would

 9   not have pushed, tackled, and used extreme physical force on Plaintiffs under the
10
     same circumstances because: a) Plaintiffs posed no real, immediate, or significant
11

12   threat of death or serious bodily injury to the Orange County Deputy Sheriffs; b)

13   there was no crime at hand and wrongdoing, if any, was not inherently dangerous
14
     and was negligible; and c) there were several alternative means of responding to
15

16   the situation without using the type of physical force used.
17      38. As a result, the use of force was excessive and objectively unreasonable
18
     under the circumstances.
19

20      39. Plaintiffs did not consent to the use of such force.
21      40. The actions of Defendants aroused fear in Plaintiffs and were against their
22
     will.
23

24      41. As a direct and proximate result of the assault and battery as described
25   above and throughout this Complaint, Plaintiffs suffered physical and mental
26
     injuries.
27

28      42. As a direct and proximate result of the acts of Defendants, Plaintiffs have


                                              13
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   suffered physical injuries and mental anguish. Plaintiffs require ongoing medical
 2
     treatment and have incurred costs and will incur costs for said treatments in the
 3

 4   future in an amount unknown at this time. Plaintiffs are thereby entitled to general

 5   and special damages in an amount to be determined at the time of trial. Plaintiffs
 6
     have and will continue to suffer severe mental anguish and emotional distress in
 7

 8   the form of anxiety, embarrassment, humiliation, loss of sleep, loss of confidence,

 9   loss of self-esteem, and general discomfort; have and will incur medical expenses
10
     for treatment by health care professionals, and other incidental expenses; and suffer
11

12   loss of present and future earnings and earnings capacity.

13      43. The COUNTY is vicariously liable for the wrongful acts of OCSD and
14
     DOES 1-25 pursuant to Section 815.2 of the California Government Code, which
15

16   provides that a public entity is liable for the injuries caused by its employees within
17   the scope of the employment if the employee’s act would subject him or her to
18
     liability.
19

20                           SECOND CAUSE OF ACTION
                                      NEGLIGENCE
21                        (All Plaintiffs Against All Defendants)
22
        44. Plaintiff re-alleges, repeats, and incorporates by reference each and every
23

24   allegation set forth in paragraphs 1 through 43 of this Complaint, as though fully
25   set forth herein.
26
        45. On information and belief, a reasonable law-enforcement officer would
27

28


                                               14
                          THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   not have pushed, tackled, and used extreme physical force on Plaintiffs under the
 2
     same circumstances because: a) Plaintiffs posed no real, immediate, or significant
 3

 4   threat of death or serious bodily injury to OCSD and DOES 1-25; b) there was no

 5   crime at hand and wrongdoing, if any, was not inherently dangerous and was
 6
     negligible; and c) there were several alternative means of responding to the
 7

 8   situation without using the type of physical force used.

 9      46. In committing the acts as described herein, Defendants were negligent,
10
     careless, reckless, and/or otherwise failed to meet its duties, non-delegable and
11

12   otherwise, which they owed to Plaintiffs.

13      47. At all times material hereto, Defendants knew or should have known that
14
     their failure to act reasonably when dealing with Plaintiffs would result in serious
15

16   bodily injury to Plaintiffs.
17      48. As a direct and proximate result of the negligent and careless acts
18
     described above and throughout this Complaint, Plaintiffs were physically and
19

20   emotionally harmed.
21      49. As a direct and proximate result of the acts of Defendants, Plaintiffs have
22
     suffered physical injuries and mental anguish. Plaintiffs require ongoing medical
23

24   treatment and have incurred costs and will incur costs for said treatments in the
25   future in an amount unknown at this time. Plaintiffs are thereby entitled to general
26
     and special damages in an amount to be determined at the time of trial. Plaintiffs
27

28   have and will continue to suffer severe mental anguish and emotional distress in


                                              15
                           THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   the form of anxiety, embarrassment, humiliation, loss of sleep, loss of confidence,
 2
     loss of self-esteem, and general discomfort; have and will incur medical expenses
 3

 4   for treatment by health care professionals, and other incidental expenses; and suffer

 5   loss of present and future earnings and earnings capacity.
 6
        50.The COUNTY is vicariously liable for the wrongful acts of the Orange
 7

 8   County Deputy Sheriffs pursuant to Section 815.2 of the California Government

 9   Code, which provides that a public entity is liable for the injuries caused by its
10
     employees within the scope of the employment if the employee’s act would subject
11

12   him or her to liability.

13                              THIRD CAUSE OF ACTION
14                         EXCESSIVE FORCE, 42 U.S.C. §1983
               (All Plaintiffs Against Defendants Jose Torres, Brian Murray
15                                    and Doe Officers)
16
        51. Plaintiffs re-allege and incorporate by reference each and every allegation
17

18   in paragraphs 1 through 50, inclusive, of this Complaint as though fully set forth
19   herein.
20
        52. Defendants Jose Torres, Brian Murray and DOE OFFICERS used
21

22   unnecessary and excessive force against Plaintiffs, including, but not limited to
23   attacking, hitting, punching, slamming to the ground, Plaintiffs, without
24
     justification, depriving Plaintiffs of their right to be secure in their person as
25

26   guaranteed by the Fourth Amendment to the United States Constitution and applied
27   to the state actors by the Fourteenth Amendment, and further deprived Plaintiffs of
28


                                              16
                           THIRD AMENDED COMPLAINT FOR DAMAGES
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 1   due process as guaranteed to them under the Fourteenth Amendment to the United
 2
     States Constitution. Defendants Jose Torres, Brian Murray and DOE OFFICERS
 3

 4   acted under color of law at all times relevant to this Complaint.

 5      53. Without cause or justification, and acting under color of law, Defendants
 6
     Jose Torres, Brian Murray and DOE OFFICERS, and each of them, intentionally
 7

 8   and maliciously deprived Plaintiffs of their rights secured to them by the First,

 9   Fourth, and Fourteenth Amendments to the United States Constitution in that
10
     Defendants Jose Torres, Brian Murray and DOE OFFICERS subjected Plaintiffs
11

12   to unreasonable, unnecessary and excessive force during their encounter with

13   Plaintiffs even though no strong governmental interest compelled the need for the
14
     officers to use force and especially the type of force used.
15

16      54. Defendants Jose Torres, Brian Murray and DOE OFFICERS used force
17   during their encounter with Plaintiffs by pushing, tackling, and slamming Plaintiffs
18
     to the ground and were acting under color of law at all times relevant herein.
19

20      55. On information and belief, a reasonable law-enforcement officer would
21   not have pushed, tackled, and used extreme physical force on Plaintiffs under the
22
     same circumstances because: a) Plaintiffs posed no real, immediate, or significant
23

24   threat of death or serious bodily injury to the Defendants Jose Torres, Brian Murray
25   and DOE OFFICERS; b) there was no crime at hand and wrongdoing; and c) there
26
     were several alternative means of responding to the situation without using the type
27

28   of physical force used.


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 1      56. As a result, the use of force was excessive and objectively unreasonable
 2
     under the circumstances. The force used was also performed with a deliberate
 3

 4   indifference to the safety and welfare of Plaintiffs. Defendants Jose Torres, Brian

 5   Murray and DOE OFFICERS deprived Plaintiffs of their right to be free from the
 6
     use of excessive force by law enforcement and their right to be protected by law
 7

 8   enforcement, rather than attacked by it.

 9      57.At all times material hereto, Defendants Jose Torres, Brian Murray and DOE
10
     OFFICERS knew or should have known that their actions while encountering
11

12   Plaintiffs was overreaching, unreasonable, and would result in serious bodily

13   injury and emotional distress and/or mental anguish to Plaintiffs. In dealing with
14
     Plaintiffs, Defendants Jose Torres, Brian Murray and DOE OFFICERS 1) showed
15

16   a clear failure in their training and supervision in responding to this type of
17   situation; 2) were acting based on their training by COUNTY; 3) were acting in
18
     accordance to and in order to advance existing unconstitutional policies of
19

20   COUNTY; and 4) as a result caused injuries to Plaintiffs. Further, Defendants Jose
21   Torres, Brian Murray and DOE OFFICERS’ conduct and use of force violated
22
     standard police officer training.
23

24      58. As a direct and proximate result of the acts of Defendants, Plaintiffs have
25   suffered physical injuries and mental anguish. Plaintiffs require ongoing medical
26
     treatment and have incurred costs and will incur costs for said treatments in the
27

28   future in an amount unknown at this time. Plaintiffs are thereby entitled to general


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 1   and special damages in an amount to be determined at the time of trial. Plaintiffs
 2
     have and will continue to suffer severe mental anguish and emotional distress in
 3

 4   the form of anxiety, embarrassment, humiliation, loss of sleep, loss of confidence,

 5   loss of self-esteem, and general discomfort; have and will incur medical expenses
 6
     for treatment by health care professionals, and other incidental expenses; and suffer
 7

 8   loss of present and future earnings and earnings capacity.

 9      59.The conduct of Defendants Jose Torres, Brian Murray and DOE OFFICERS
10
     was willful, wanton, malicious, and done with reckless disregard for the rights and
11

12   safety of Plaintiffs, and therefore warrants the imposition of exemplary and

13   punitive damages as to Defendants Jose Torres, Brian Murray and DOE
14
     OFFICERS.
15

16      60. As a further result of the foregoing, Plaintiffs are entitled to recover
17   reasonable costs and attorney fees under 42 U.S.C. §1988.
18
                        FOURTH CAUSE OF ACTION
19     VIOLATION OF CIVIL RIGHTS, 42 U.S.C. §1983 – MONNEL CLAIM
20             (All Plaintiffs against COUNTY and DOES 16-25)
21      61. Plaintiffs re-allege and incorporate by reference each and every allegation
22
     in paragraphs 1 through 60, inclusive, of this Complaint as though fully set forth
23

24   herein.
25      62. Defendants DOE OFFICERS acted under color of law.
26
        63. The acts of DOE OFFICERS deprived Plaintiffs of their particular rights
27

28   under the United States Constitution.


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 1   RATIFICATION
 2
        64.Upon information and belief, a final policymaker, acting under color of law,
 3

 4   who had final policymaking authority concerning the acts of Defendants DOE

 5   OFFICERS, ratified DOE OFFICERS’ acts and the bases for them. Upon
 6
     information and belief, the final policymaker knew of and specifically approved of
 7

 8   DOE OFFICERS’ acts.

 9      65. Upon information and belief, a final policymaker has determined that the
10
     acts of DOE OFFICERS were “within policy”.
11

12      66. On information and belief, DOE OFFICERS were not disciplined,

13   reprimanded, retrained, suspended, or otherwise penalized in connection with this
14
     incident as described above.
15

16   FAILURE TO TRAIN
17      67. The training policies of COUNTY were not adequate to train DOE
18
     OFFICERS to handle the usual and recurring situations with which they must deal.
19

20      68. Defendant COUNTY was deliberately indifferent to the obvious
21   consequences of its failure to train its officers adequately.
22
        69. The failure of COUNTY to provide adequate training caused the
23

24   deprivation of the rights of Plaintiffs by DOE OFFICERS; that is, the COUNTY’s
25   failure to train is so closely related to the deprivation of Plaintiffs’ rights as to be
26
     the moving force that caused the ultimate injury.
27

28   UNCONSTITUTIONAL CUSTOM OR POLICY


                                                20
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 1      70. On information and belief, DOE OFFICERS were not disciplined,
 2
     reprimanded, retrained, suspended, or otherwise penalized in connection with this
 3

 4   incident as described above.

 5      71. Defendants COUNTY and DOES 16-25, together with other COUNTY
 6
     policymakers and supervisors, maintained, inter alia, unconstitutional customs,
 7

 8   practices, and policies, including but not limited to the following:

 9      a) Using excessive force, including excessive deadly force;
10      b) Providing inadequate training regarding the use of force;
        c) Employing and retaining as officers/deputies such as DOE OFFICERS,
11         whom COUNTY at all times material herein knew or reasonably should
12         have known had dangerous propensities for abusing their authority and for
           using excessive force;
13      d) Inadequately supervising, training, controlling, assigning, and disciplining
14         officers/deputies and other personnel, including DOE OFFICERS, whom
           County and DOES 16-25 knew or in the exercise of reasonable care should
15         have known had the aforementioned propensities and character traits;
16      e) Maintaining grossly inadequate procedures for reporting, supervising,
           investigating, reviewing, disciplining, and controlling misconduct by OCSD
17         officers/deputies;
18      f) Failing to adequately discipline OCSD officers/deputies for the above
           referenced categories of misconduct, including “slaps on the wrist”,
19         discipline that is so slight as to be out of proportion to the magnitude of the
20         misconduct and other inadequate discipline that is tantamount to
           encouraging misconduct;
21      g) Announcing that unjustified shootings are within policy including shootings
22         that were later determined in court to be unconstitutional;
        h) Even where shootings are determined in court to be unconstitutional,
23         refusing to discipline, terminate, or retrain the officers involved;
24      i) Encouraging, accommodating, or facilitating a “blue code of silence”, “blue
           shield” “blue wall” “blue curtain” or simply “code of silence” pursuant to
25         which officers do not report other officers’ errors, misconduct, or crimes.
26         Pursuant to this code of silence if questioned about an incident of
           misconduct involving another officer, while following the code, the officer
27         being questioned will claim ignorance of the other officers’ wrongdoing;
28         and


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 1      j) Maintaining a policy of inaction and an attitude of indifference towards
 2
           soaring numbers of police misconduct, including by failing to discipline,
           retrain, investigate, terminate, and recommend officers for criminal
 3         prosecution who participate in misconduct that deprives people of their
 4         constitutional rights.

 5      72. The aforementioned unconstitutional customs, practices, and policies, in
 6
     addition to the ratification of the deficient customs, practices, and policies are
 7
     evidenced by the number of prior cases in which a jury has found force used by an
 8

 9   OCSD officer/deputy working for the COUNTY to be excessive and unreasonable.
10
        73. COUNTY and DOES 16-25 together with various other officials, whether
11
     named or unnamed, had either actual or constructive knowledge of the deficient
12

13   policies, practices, and customs alleged in the paragraphs above. Despite having
14
     knowledge as stated above, these defendants condoned, tolerated, and through
15
     actions and inactions thereby ratified such policies. Said defendants also acted with
16

17   deliberate indifference to the foreseeable effects and consequences of these
18
     policies with respect to the constitutional rights of Plaintiffs and other individuals
19
     similarly situated.
20

21      74. By perpetrating, sanctioning, tolerating, and ratifying the outrageous
22
     conduct and other wrongful acts, COUNTY and DOES 16-25 acted with
23

24
     intentional, reckless and callous disregard for the constitutional rights of Plaintiffs.

25   Furthermore, the policies, practices, and customs implemented maintained and still
26
     tolerated by COUNTY and DOES 16-25 were affirmatively linked to and were a
27

28
     significant influential force behind the injuries of Plainitffs.


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 1      75. By reason of the aforementioned acts and omissions (ie. ratification, failure
 2
     to train, and unconstitutional customs and policies) Plaintiffs have suffered
 3

 4   damages. Accordingly, COUNTY and DOES 16-25 are each liable to Plaintiffs for

 5   compensatory damages under 42 USC Section 1983.
 6
        76. Defendant COUNTY through the OCSD and DOES 1 to 25 as a matter of
 7

 8   custom, practice and policy, failed to adequately protect the rights of Plaintiffs.

 9   Furthermore, under Monell v Department of Social Services, 436 U.S.658 (1978),
10
     COUNTY and DOES 16-25 are liable under 42 U.S.C. §1983 because the DOE
11

12   OFFICERS 1) showed a clear failure in their training and supervision in

13   responding to this type of situation; 2) were acting based on their training by
14
     COUNTY; 3) were acting in accordance to and in order to advance existing
15

16   unconstitutional policies of COUNTY; and 4) as a result caused injuries to
17   Plaintiffs.
18
        77. The conduct alleged herein violated Plaintiffs’ rights alleged above which
19

20   has legally, proximately, foreseeably, and actually caused Plaintiffs to suffer
21   general and special damages according to proof at the time of trial.
22
        78. Plaintiffs are also entitled to recover reasonable costs and attorney fees
23

24   under 42 U.S.C. Section 1988.
25                       FIFTH CAUSE OF ACTION
26        VIOLATION OF BANE ACT, CALIFORNIA CIVIL CODE §52.1
                     (All Plaintiffs against all defendants)
27

28      79. Plaintiffs re-allege and incorporate by reference each and every allegation


                                              23
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 1   in paragraphs 1 through 78, inclusive, of this Complaint as though fully set forth
 2
     herein.
 3

 4      80. California Civil Code, Section 52.1 also known as the Bane Act, prohibits

 5   any person from using violent acts or threatening to commit violent acts in
 6
     retaliation against another person for exercising that person’s constitutional rights.
 7

 8   Moreover, “a successful claim for excessive force under the Fourth Amendment

 9   provides the basis for a successful claim under section 52.1.” Chaudry v. City of
10
     Los Angeles, 751 F.3d 1096, 1105-1106 (9th Cir. 2014) citing Cameron v. craig,
11

12   713 F.3d 1012, 1022 (9th Cir. 2013) (“[T]he elements of the excessive force claim

13   under section 52.1 are the same as un section 1983.”); Bender v County of L.A.,
14
     217 Cal.App.4th 968, 976 (2013) (“an unlawful [seizure] - when accompanied by
15

16   unnecessary, deliberate and excessive force – is [] within the protection of the Bane
17   Act”).
18
        81. On information and belief, DOE OFFICERS, while working for the
19

20   COUNTY and acting within the course and scope of their duties, intentionally
21   committed and attempted to commit acts of violence against Plaintiffs and deprived
22
     them of their constitutional rights.
23

24      82. Defendant COUNTY through the DOE OFFICERS acting within the course
25   and scope of their official duties, interfered with or attempted to interfere with the
26
     rights of Plaintiffs to be free from unreasonable excessive force by threatening or
27

28   committing acts involving violence, coercion, or intimidation, including but not


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 1   limited to striking, pushing, slamming to the ground Plaintiffs and causing them
 2
     injuries and damages. COUNTY’s acts were done under color of law in order to
 3

 4   interfere with PLAINTIFF’s enjoyment of their constitutional rights.

 5      83. On information and belief, Plaintiffs reasonably believed that if they
 6
     exercised their constitutional rights to be free from unreasonable excessive force,
 7

 8   Defendant COUNTY and DOE OFFICERS would not commit acts involving

 9   violence, threats, coercion or intimidation against their person.
10
        84. Defendant COUNTY and DOE OFFICERS, injured Plaintiffs, to prevent
11

12   Plaintiffs from exercising their rights or to retaliate against Plaintiffs for having

13   exercised their rights.
14
        85. As a direct and proximate result of the acts of Defendants, Plaintiffs have
15

16   suffered physical injuries and mental anguish. Plaintiffs require ongoing medical
17   treatment and have incurred costs and will incur costs for said treatments in the
18
     future in an amount unknown at this time. Plaintiffs are thereby entitled to general
19

20   and special damages in an amount to be determined at the time of trial. Plaintiffs
21   have and will continue to suffer severe mental anguish and emotional distress in
22
     the form of anxiety, embarrassment, humiliation, loss of sleep, loss of confidence,
23

24   loss of self-esteem, and general discomfort; have and will incur medical expenses
25   for treatment by health care professionals, and other incidental expenses; and suffer
26
     loss of present and future earnings and earnings capacity.
27

28      86. The COUNTY and DOES 16-25 are vicariously liable for the wrongful acts


                                              25
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 1   of the DOE OFFICERS pursuant to Section 815.2 of the California Government
 2
     Code, which provides that a public entity is liable for the injuries caused by its
 3

 4   employees within the scope of the employment if the employee’s act would subject

 5   him or her to liability.
 6
        87. The conduct of Defendants was malicious, wanton, oppressive, and
 7

 8   accomplished with a conscious disregard for Plaintiffs’ rights, justifying an award

 9   of exemplary damages as to Defendant DOES 16-25 and DOE OFFICERS.
10
        88. Defendants’ violation of Plaintiffs’ rights as guaranteed by California
11

12   Civil Code Section 52.1 entitles Plaintiffs to recover reasonable costs and attorneys

13   fees under California Civil Code Section 52.1, subdivision (h), 52(b)(3).
14
                           SIXTH CAUSE OF ACTION
15             NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
16                     (All Plaintiffs against all defendants)
17      89. Plaintiffs re-allege and incorporate by reference each and every allegation
18
     in paragraphs 1 through 88, inclusive, of this Complaint as though fully set forth
19

20   herein.
21      90. On information and belief, a reasonable law-enforcement officer would
22
     not have pushed, tackled, and used extreme physical force on Plaintiffs under the
23

24   same circumstances because: a) Plaintiffs posed no real, immediate, or significant
25   threat of death or serious bodily injury to DOE OFFICERS; b) there was no crime
26
     at hand and wrongdoing, if any, was not inherently dangerous and was negligible;
27

28


                                              26
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 1   and c) there were several alternative means of responding to the situation without
 2
     using the type of physical force used.
 3

 4      91. Defendants COUNTY DOES 16-26 and DOE OFFICERS, owed a duty to

 5   act reasonably and to not cause injuries, physical and emotional, to Plaintiffs. In
 6
     committing the acts as described herein, Defendants COUNTY DOES 16-26 and
 7

 8   DOE OFFICERS, were negligent, careless, reckless, and/or otherwise failed to

 9   meet its duties, non-delegable and otherwise, which they owed to Plaintiffs.
10
        92. At all times material hereto, Defendants knew or should have known that
11

12   their failure to act reasonably when dealing with Plaintiffs would result in serious

13   bodily injury and emotion injuries to Plaintiffs.
14
        93. Plaintiffs were all family members and were present at the scene at the
15

16   time and were aware that each family member was being attacked by the DOE
17   OFFICERS.
18
        94. As a result of seeing their family members injured, Plaintiffs have suffered
19

20   serious emotional distress, including, but not limited to, suffering, anguish, fright,
21   horror, nervousness, grief, anxiety, worry, depression, and shock.
22
        95. Defendants’ actions, as described above, was a substantial factor in causing
23

24   Plaintiffs’ serious emotional distress.
25      96. Plaintiffs are informed and believe that the conduct of Defendants and
26
     Plaintiffs’ injuries resulted from and arose directly out of DOE OFFICERS’
27

28   employment with OCSD and COUNTY. DOE OFFICERS’ conduct was motivated


                                               27
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 1   and arose, in whole or in part, by a desire to serve COUNTY. The COUNTY and
 2
     DOES 16-25 are vicariously liable for the wrongful acts of the DOE OFFICERS
 3

 4   pursuant to Section 815.2 of the California Government Code, which provides that

 5   a public entity is liable for the injuries caused by its employees within the scope of
 6
     the employment if the employee’s act would subject him or her to liability.
 7

 8      97. As a direct and proximate result of the aforementioned acts and omissions

 9   of Defendants, Plaintiffs have been caused to and did in fact suffer severe and
10
     extreme mental and emotional distress, including but not limited to, anguish,
11

12   humiliation, embarrassment, loss of confidence, fright, depression, and anxiety, the

13   exact nature and extent of which are not now known to them, but in an amount to
14
     be proved at trial.
15

16                        SEVENTH CAUSE OF ACTION
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
17                      (All Plaintiffs against All Defendants)
18
        98. Plaintiffs re-allege and incorporate by reference each and every allegation
19

20   in paragraphs 1 through 97, inclusive, of this Complaint as though fully set forth
21   herein.
22
        99. Defendant DOE OFFICERS’s actions as described elsewhere in this
23

24   complaint were objectively extreme, outrageous and intentional behavior. DOE
25   OFFICERS acted with reckless disregard of the probability that their conduct
26
     would cause Plaintiffs severe emotional distress. The aforementioned conduct is
27

28


                                               28
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 1   so extreme as to "exceed all bounds of decency usually tolerated in a civilized
 2
     society."
 3

 4      100.        DOE OFFICERS were acting within the course and scope of their

 5   employment and/or agency with Defendant COUNTY when they engaged in
 6
     misconduct. Defendant COUNTY is, therefore, vicariously liable for the actions
 7

 8   of the Orange County Deputy Sheriffs under principles of respondeat superior.

 9      101.        Defendants were aware that treating Plaintiffs in the manner alleged
10
            above
11

12   would devastate Plaintiffs and cause Plaintiffs extreme hardship. Defendants’

13   conduct was intended to cause Plaintiffs emotional distress and Defendants acted
14
     with reckless disregard to the probability that Plaintiffs would suffer emotional
15

16   distress.
17      102. As a direct and proximate result of the aforementioned acts and
18
     omissions of Defendants, Plaintiffs have been caused to and did in fact suffer
19

20   severe and extreme mental and emotional distress, including but not limited to,
21   anguish, humiliation, embarrassment, loss of confidence, fright, depression, and
22
     anxiety, the exact nature and extent of which are not now known to them, but in an
23

24   amount to be proved at trial.
25      103. In doing the acts herein alleged, Defendants and each of them acted with
26
     malice and oppression in knowingly, purposefully and intentionally committing
27

28   the conduct. Said conduct was vile and despicable. Defendants DOE OFFICERS


                                              29
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 1   acted with oppression, malice, and fraud and are therefore liable for punitive
 2
     damages.
 3

 4      104. Plaintiffs are informed and believe that the conduct of Defendants and

 5   Plaintiffs’ injuries resulted from and arose directly out of DOE OFFICERS’
 6
     employment with OCSD and COUNTY. DOE OFFICERS’ conduct was motivated
 7

 8   and arose, in whole or in part, by a desire to serve COUNTY. The COUNTY and

 9   DOES 16-25 are vicariously liable for the wrongful acts of the DOE OFFICERS
10
     pursuant to Section 815.2 of the California Government Code, which provides that
11

12   a public entity is liable for the injuries caused by its employees within the scope of

13   the employment if the employee’s act would subject him or her to liability.
14
        105. As a direct and proximate result of the aforementioned acts and omissions
15

16   of Defendants, Plaintiffs have been caused to and did in fact suffer severe and
17   extreme mental and emotional distress, including but not limited to, anguish,
18
     humiliation, embarrassment, loss of confidence, fright, depression, and anxiety, the
19

20   exact nature and extent of which are not now known to them, but in an amount to
21   be proved at trial.
22
                                  PRAYER FOR RELIEF
23

24         WHEREFORE, Plaintiffs pray for Judgment against Defendants as
25   follows:
26
        1. For general damages in a sum according to proof;
27
        2. For special damages in a sum according to proof;
28


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 1      3. For an award of interest, including prejudgment interest, at the legal rate;
 2      4. For costs of suit and reasonable attorney fees as provided by law,
 3   including, but not limited to 42 U.S.C. Section 1988 and California Civil Code
 4   Section 52.1, subdivision (h), 52, subdivision (b)(3);
 5      5. For punitive damages against the individual defendants in an amount
 6         according to proof at trial;
 7      6. For such other and further relief as the Court deems just and proper.
 8

 9   DATED: December 4, 2020                MESSRELIAN LAW INC.

10

11
                                            By /s/harout messrelian
12                                             Harout Messrelian, Esq.
13                                             Attorneys for Plaintiffs

14

15
     DATED: December 4, 2020              LAW OFFICES OF SEVAG NIGOGHOSIAN
16

17
                                            By /s/sevag nigoghosian
18                                            Sevag Nigoghosian, Esq.
19                                            Attorneys for Plaintiffs
20

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 1                           DEMAND FOR JURY TRIAL
 2        Plaintiffs hereby demand, as a matter of right, a trial by jury in this case.
 3

 4
     DATED: December 4, 2020            MESSRELIAN LAW INC.
 5

 6

 7                                          By /s/harout messrelian
                                               Harout Messrelian, Esq.
 8
                                               Attorneys for Plaintiffs
 9
     DATED: December 4, 2020           LAW OFFICES OF SEVAG NIGOGHOSIAN
10

11
                                            By /s/sevag nigoghosian
12
                                              Sevag Nigoghosian, Esq.
13                                            Attorneys for Plaintiffs
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